
OPINION OF THE COURT
PER CURIAM.
The appellee was charged with violation of right of way, fleeing the scene of an accident, fleeing a police officer, driving with improper or unsafe equipment, driving without a vehicle registration, driving without a valid driver’s license, driving with a suspended driver’s license, and driving under the influence.
The court entered an order granting a motion to compel and *56ordering that upon failure to appear for deposition, the case would be dismissed, (November 18, 1986). The witnesses failed to appear, a motion to dismiss was filed and granted (December 12, 1986). The State is under no obligation to produce witnesses for deposition. (State v Adderly, 411 So.2d 981 (Fla. 3d DCA 1982)).
Accordingly, the ruling of the lower court is reversed with instructions to reinstate the case and proceed to trial.
NADLER, ROBINSON and GERSTEIN, JJ., concur.
